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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                           Delaware
 ____________________ District of _________________
                                        (State)
                                                            11
 Case number (If known): _________________________ Chapter _____                                                                       Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                                     Independent Pet Partners Holdings, LLC
                                              ______________________________________________________________________________________________________



                                                           Cold Nose Holdings, LLC
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   8    2      1     9   7    5 9    1    3
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business
                                                      8450 City Centre Drive
                                              ______________________________________________                 _______________________________________________
                                              Number     Street                                              Number     Street

                                              ______________________________________________                 _______________________________________________
                                                                                                             P.O. Box

                                                      Woodbury                  Minnesota 55125
                                              ______________________________________________                 _______________________________________________
                                              City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                       Washington
                                              ______________________________________________
                                              County                                                         _______________________________________________
                                                                                                             Number     Street

                                                                                                             _______________________________________________

                                                                                                             _______________________________________________
                                                                                                             City                      State      ZIP Code




 5.   Debtor’s website (URL)                               (none)
                                              ____________________________________________________________________________________________________




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                     Independent Pet Partners Holdings, LLC
Debtor        _______________________________________________________                       Case number (if known)_____________________________________
              Name



                                          x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          x None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             _4   _5 _ _3 _ _9 _

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          x Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor             Independent Pet Partners Holdings, LLC
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        x No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a                         See attached Schedule 1
                                         x Yes. Debtor _____________________________________________
                                                                                                                   Affiliate
                                                                                                     Relationship _________________________
      business partner or an
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         x Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         x No
                                         
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
                      Independent Pet Partners Holdings, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




 13. Debtor’s estimation of              Check one:
     available funds                     x Funds will be available for distribution to unsecured creditors.
                                         
     (on a consolidated basis)            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
     (on a consolidated basis)           x 200-999
                                         

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
         (on a consolidated basis)        $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
     (on a consolidated basis)            $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               x $100,000,001-$500 million
                                                                                                                         More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                              02/05/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                                 /s/ Stephen Coulombe
                                             _____________________________________________
                                                                                                               Stephen Coulombe
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                         Co-Chief Restructuring Officer
                                             Title _________________________________________




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                     Independent Pet Partners Holdings, LLC
Debtor      _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                              /s/ Andrew L. Magaziner
                                          _____________________________________________            Date
                                                                                                                 02/05/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM     / DD / YYYY


                                              Andrew L. Magaziner
                                         _________________________________________________________________________________________________
                                         Printed name
                                               Young Conaway Stargatt & Taylor, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                               Rodney Square, 1000 North King Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                                Wilmington
                                         ____________________________________________________
                                                                                                         Delaware      19801
                                                                                                         ____________ ______________________________
                                         City                                                            State        ZIP Code
                                                (302) 571-6600                                             amagaziner@ycst.com
                                         ____________________________________                            __________________________________________
                                         Contact phone                                                   Email address


                                             No. 5426                                                     Delaware
                                         ______________________________________________________ ____________
                                         Bar number                                             State




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                                             Schedule 1

               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11
of title 11 of the United States Code in the United States Bankruptcy Court for the District of
Delaware. The Debtors have filed a motion requesting that the chapter 11 cases of these entities
be consolidated for procedural purposes only and jointly administered under the number assigned
to the chapter 11 case of Independent Pet Partners Holdings, LLC.


                       Independent Pet Partners Holdings, LLC
                       Independent Pet Partners Intermediate Holdings I, LLC
                       Independent Pet Partners Intermediate Holdings II, LLC
                       Independent Pet Partners Employer Holdings, LLC
                       Independent Pet Partners Employer, LLC
                       Independent Pet Partners Intermediate Holdings, LLC
                       IPP – Stores, LLC
                       IPP Stores Employer, LLC
                       Especially for Pets, LLC
                       Pet Life, LLC
                       Whole Pet Central, LLC
                       Natural Pawz, LLC
                       Pet Source, LLC




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                  INDEPENDENT PET PARTNERS HOLDINGS, LLC
          INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS I, LLC
         INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS II, LLC
           INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS, LLC
                              IPP - STORES, LLC
                                PET LIFE, LLC
                         ESPECIALLY FOR PETS, LLC
                          WHOLE PET CENTRAL, LLC
                             NATURAL PAWZ, LLC
                              PET SOURCE, LLC
                         IPP STORES EMPLOYER, LLC
             INDEPENDENT PET PARTNERS EMPLOYER HOLDINGS, LLC
                  INDEPENDENT PET PARTNERS EMPLOYER, LLC

                               OMNIBUS WRITTEN CONSENT

                                         February 5, 2023

       The undersigned, being all of the members of the independent committee of the board of
managers or members of the boards of managers, or the managing member, as applicable (each, a
“Governing Body”), of each entity set forth above (each, a “Company,” and, collectively, the
“Companies”), hereby take the following actions and adopt the following resolutions by written
consent (these “Resolutions”) pursuant to such company’s limited liability company agreement and
the Delaware Limited Liability Company Act, as amended:

         WHEREAS, on February 3, 2023, the Board of Managers (“IPP Board”) of Independent
 Pet Partners Holdings, LLC (“IPP”): (i) formed an independent committee of the IPP Board
 (the “Independent Committee”); (ii) appointed Jill Frizzley as the sole member of the Independent
 Committee; and (iii) delegated to the Independent Committee the authority to, on behalf of the IPP
 Board, and as the Independent Committee deems appropriate or desirable in its discretion, among
 other things, adopt these Resolutions on behalf of the IPP Board and bind IPP;

         WHEREAS, the Governing Body of each Company has reviewed the materials presented
 by, or on behalf of, such Company’s management (such Company’s “Management”) and its
 financial, legal, and other advisors (collectively, such Company’s “Advisors”), including, but not
 limited to, materials regarding the liabilities, obligations, and liquidity of such Company, the
 strategic alternatives available to such Company, and the impact of the foregoing on such
 Company’s business and the business of such Company’s affiliates;

        WHEREAS, the Governing Body of each Company has had adequate opportunity to
 consult with its Management and Advisors regarding the materials presented, to obtain additional
 information and to fully consider each of the strategic alternatives available to such Company;

        WHEREAS, the Governing Body of each Company, after consultation with its
 Management and its Advisors, has determined that it is in the best interests of such Company to
 conduct a sale process pursuant to section 363 of chapter 11 of title 11 of the United States Code,
 §§ 101-1532, et seq. (the “Bankruptcy Code”) and to sell certain of its assets to one or more
 potential bidders (the “Sale Transaction”);
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        WHEREAS, after reviewing indications of interest submitted by interested bidders, the
Governing Body of each Company, with the assistance of the such Company’s Advisors, reviewed
and negotiated an asset purchase agreement (as amended, modified, or supplemented, the “Stalking
Horse APA”) with IPP Buyer Acquisition, LLC, a Delaware limited liability company (the
“Stalking Horse Bidder”), to purchase 66 of the Companies’ stores (collectively, the “Go-Forward
Stores”) and certain of the Companies’ assets required to run the Go-Forward Stores, including,
among other things, the Go-Forward Stores’ leases, inventory, accounts receivable, intellectual
property, customer programs, and tangible personal property (collectively with the Go-Forward
Stores, the “Go-Forward Business”);

        WHEREAS, the Governing Body of each Company has determined that the Stalking
Horse APA is fair and reasonable and will not discourage competitive bidding in connection with
the Sale Transaction; and

        WHEREAS, the Companies have previously been granted authority to enter into a
consulting agreement (the “Consulting Agreement”), and have entered into the Consulting
Agreement, with B. Riley Retail Solutions, LLC (“B. Riley”), to represent and assist the
Companies in conducting store closure sales (the “Store Closing Sales”)at the Companies’ stores
that are not part of the Go-Forward Business (collectively, the “Closing Stores”); and

        WHEREAS, the Governing Body of each Company has determined, in the judgement of
such Governing Body, that the following resolutions, as applicable, are advisable and in the best
interests of such Company, its interest holders, its subsidiaries (if any), its creditors, and other
parties in interest.

Chapter 11 Cases

        NOW, THEREFORE, IT IS HEREBY RESOLVED, that in the judgment of the
Governing Body of each Company, it is desirable and in the best interests of each Company and
its creditors, and other parties in interest, that such Company file or cause to be filed a voluntary
petition for relief under the provisions of chapter 11 of title 11 of the United States Code, §§ 101-
1532, et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”).

        BE IT FURTHER RESOLVED, that Charlie Reeves and Steve Coulombe, in their
respective capacities as Co-Chief Restructuring Officer (each a “Co-CRO”), and Julie Maday, in
her capacity as Chief Executive Officer (the “Authorized Persons”), are authorized, empowered,
and directed, in the name of and on behalf of each Company to execute, verify and file all petitions,
schedules, lists, motions, applications, pleadings and other papers or documents as necessary to
commence the case and obtain chapter 11 relief, including but not limited to motions to obtain the
use of cash collateral and provide adequate protection therefore and to obtain debtor-in-possession
financing, and to take, or cause to be taken, such other actions, as in the judgment of such
Authorized Person shall be or become necessary, advisable, proper, or desirable in connection with
each of the Company’s chapter 11 cases, such Authorized Person’s performance of any such act
and his or her execution and delivery of any such document, agreement, or instrument to be
conclusive evidence of the Authorized Person’s approval thereof.
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Debtor in Possession Financing

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company to enter
into a senior secured, superpriority, priming debtor in possession credit facility pursuant to the
terms of the Senior Secured Superpriority Priming Debtor-in-Possession Credit Agreement,
containing the terms substantially consistent with those presented to the Board (the “DIP Credit
Facility”), and negotiate, execute, and file any related motions, documents, or instruments, each
on terms and conditions agreed to by each Company and the lenders and such other terms as are
customary for similar debtor-in-possession facilities and to cause each Company to grant a security
interest in substantially all of its assets in connection therewith, and to undertake any and all related
transactions contemplated thereby.

Sale Process and Bidding Procedures Motion

         BE IT FURTHER RESOLVED, that that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed, in the name of and on behalf of each Company,
to (i) file a motion (the “Bidding Procedures Motion”) with the Bankruptcy Court to request,
among other things, the Bankruptcy Court’s approval of (a) the Sale Transaction, (b) the
continuation of a marketing and sale process in the chapter 11 cases for the Go-Forward Business
and the Closing Stores (the “Sale Process”), and (c) the bidding procedures associated with the
Sale Process, which are attached to the Bidding Procedures Motion (such bidding procedures, in
the form approved by the Bankruptcy Court, the “Bidding Procedures”), including a request for
approval of the reimbursement of the Stalking Horse Bidder’s expenses on the terms set forth in
the Stalking Horse APA, (ii) execute and deliver the Stalking Horse APA, and (iii) commence and
implement the Sale Process.

       BE IT FURTHER RESOLVED, that the Authorized Persons, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of such Company, to
take any and all other actions as they may deem necessary or advisable to implement the Sale
Process as contemplated by the Bidding Procedures.

Retention of Advisors

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
the law firm of McDonald Hopkins LLC as general bankruptcy counsel to represent and advise the
Companies in carrying out their duties under the Bankruptcy Code, and to take any and all actions
to advance its rights and obligations, including filing any pleadings in connection with the chapter
11 cases; and in connection therewith, the Authorized Persons are hereby authorized, empowered,
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon filing of the chapter 11 cases (and to replenish said retainers as necessary to
maintain the same), and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of McDonald Hopkins LLC.

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
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the firm of Young Conaway Stargatt & Taylor, LLP as co-counsel to represent and advise the
Companies in carrying out their duties under the Bankruptcy Code, and to take any and all actions
to advance its rights and obligations in connection with the chapter 11 cases; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the chapter 11 cases (and to replenish said retainers as necessary to maintain the same),
and cause to be executed and filed an appropriate application with the bankruptcy court for
authority to retain the services of Young Conaway Stargatt & Taylor, LLP.

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
Charlie Reeves and Steve Coulombe of Berkeley Research Group, LLC to provide Co-CRO
services and assist the Companies in carrying out their duties under the Bankruptcy Code, and to
take any and all actions to advance its rights and obligations in connection with the chapter 11
cases; and in connection therewith, the Authorized Persons are hereby authorized, empowered,
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the chapter 11 cases (and to replenish said retainers as necessary to
maintain the same), and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Charlie Reeves, Steve Coulombe, and
certain additional personnel employed by Berkeley Research Group, LLC.

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
the firm of Houlihan Lokey Capital, Inc. as financial advisor and investment banker to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any
and all actions to advance its rights and obligations in connection with the chapter 11 cases; and
in connection therewith, the Authorized Persons are hereby authorized, empowered, and directed
to execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the chapter 11 cases (and to replenish said retainers as necessary to maintain the
same), and cause to be executed and filed an appropriate application with the bankruptcy court for
authority to retain the services of Houlihan Lokey Capital, Inc.

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
the firm of Omni Agent Solutions as notice, claims, and balloting agent to assist the Companies in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations in connection with the chapter 11 cases; and in connection therewith, the
Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
chapter 11 cases (and to replenish said retainers as necessary to maintain the same), and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Omni Agent Solutions.

         BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to
continue the Store Closing Sales; and in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to pay appropriate retainers prior to and immediately upon
the filing of the chapter 11 cases (and to replenish said retainers as necessary to maintain the same)
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and cause to be executed and filed an appropriate motion with the bankruptcy court for authority
to assume the Consulting Agreement, as applicable.

        BE IT FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of each Company, to employ
any other professionals, including attorneys, accountants, financial advisors, investment bankers,
and tax advisors, necessary to assist the Companies in carrying out its duties under the Bankruptcy
Code; and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to or
immediately upon the filing of the chapter 11 cases, and cause to be executed and filed appropriate
applications with the bankruptcy court for authority to retain the services of any other
professionals, as necessary.

Other Authorizations and Ratification

       BE IT FURTHER RESOLVED, that the Authorized Persons, and any employees or agents
(including counsel) designated by or directed by any such officers be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of each Company, to take any
and all other actions as they may deem necessary or advisable to, in each Company’s capacity as
stockholder, shareholder, equity holder, managing member, sole member, general partner, limited
partner, or member of any of the Companies to cause such Companies to execute, deliver, and
perform any of the actions contemplated with respect to the chapter 11 cases and these Resolutions
or the transactions contemplated hereby.

         BE IT FURTHER RESOLVED, that all lawful acts, actions, and transactions relating to
the matters contemplated by the foregoing Resolutions done by any Authorized Person or any
director, employee, legal counsel, or other representative of or advisor to the Companies, in the
name and on behalf of the Companies, which acts would have been approved by the foregoing
Resolutions except that such acts were taken before these Resolutions were certified, are hereby
in all respects approved and ratified.

        BE IT FURTHER RESOLVED, that this Written Consent may be executed in
counterparts, each of which shall be deemed an original, but all of which taken together shall
constitute one and the same document.


                         [Remainder of Page Intentionally Left Blank]
             Case 23-10153-LSS       Doc 1     Filed 02/05/23     Page 12 of 28



        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first above written.


INDEPENDENT PET PARTNERS HOLDINGS, LLC:

                                          INDEPENDENT COMMITTEE OF THE
                                          BOARD OF MANAGERS:


                                          ______________________________
                                          Name: Jill Frizzley, Manager


INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS I, LLC:

                                          MEMBER:

                                          INDEPENDENT PET PARTNERS
                                          HOLDINGS, LLC


                                          By:    ______________________________
                                          Name: Julie Maday
                                          Title: Chief Executive Officer




INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS II, LLC:

                                          MEMBER:

                                          INDEPENDENT PET PARTNERS
                                          HOLDINGS I, LLC


                                          By:    ______________________________
                                          Name: Julie Maday
                                          Title: Chief Executive Officer




                        Signature Page to Authorizing Written Consent
             Case 23-10153-LSS       Doc 1     Filed 02/05/23     Page 13 of 28



        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first above written.


INDEPENDENT PET PARTNERS HOLDINGS, LLC:

                                          INDEPENDENT COMMITTEE OF THE
                                          BOARD OF MANAGERS:


                                          ______________________________
                                          Name: Jill Frizzley, Manager


INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS I, LLC:

                                          MEMBER:

                                          INDEPENDENT PET PARTNERS
                                          HOLDINGS, LLC


                                          By:    ______________________________
                                          Name: Julie Maday
                                          Title: Chief Executive Officer




INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS II, LLC:

                                          MEMBER:

                                          INDEPENDENT PET PARTNERS
                                          HOLDINGS I, LLC


                                          By:    ______________________________
                                          Name: Julie Maday
                                          Title: Chief Executive Officer




                        Signature Page to Authorizing Written Consent
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INDEPENDENT PET PARTNERS INTERMEDIATE HOLDINGS, LLC:

                                       MEMBER:

                                       INDEPENDENT PET PARTNERS
                                       INTERMEDIATE HOLDINGS II, LLC


                                       By:    ______________________________
                                       Name: Julie Maday
                                       Title: Chief Executive Officer


IPP - STORES, LLC:

                                       ______________________________
                                       Name: Julie Maday, Manager


PET LIFE, LLC:

                                       MEMBER:

                                       INDEPENDENT PET PARTNERS
                                       INTERMEDIATE HOLDINGS, LLC


                                       By:    ______________________________
                                       Name: Julie Maday
                                       Title: Chief Executive Officer



ESPECIALLY FOR PETS, LLC:

                                       MEMBER:

                                       INDEPENDENT PET PARTNERS
                                       INTERMEDIATE HOLDINGS, LLC


                                       By:    ______________________________
                                       Name: Julie Maday
                                       Title: Chief Executive Officer



                     Signature Page to Authorizing Written Consent
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WHOLE PET CENTRAL, LLC:

                                     MEMBER:

                                     INDEPENDENT PET PARTNERS
                                     INTERMEDIATE HOLDINGS, LLC


                                     By:    ______________________________
                                     Name: Julie Maday
                                     Title: Chief Executive Officer


NATURAL PAWZ, LLC:

                                     MEMBER:

                                     INDEPENDENT PET PARTNERS
                                     INTERMEDIATE HOLDINGS, LLC


                                     By:    ______________________________
                                     Name: Julie Maday
                                     Title: Chief Executive Officer



PET SOURCE, LLC:

                                     MEMBER:

                                     INDEPENDENT PET PARTNERS
                                     INTERMEDIATE HOLDINGS, LLC


                                     By:    ______________________________
                                     Name: Julie Maday
                                     Title: Chief Executive Officer




                   Signature Page to Authorizing Written Consent
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IPP STORES EMPLOYER, LLC:

                                    MEMBER:

                                    IPP – STORES, LLC


                                    By:    ______________________________
                                    Name: Julie Maday
                                    Title: Chief Executive Officer


INDEPENDENT PET PARTNERS EMPLOYER HOLDINGS, LLC:

                                    MEMBER:

                                    INDEPENDENT PET PARTNERS
                                    INTERMEDIATE HOLDINGS II, LLC


                                    By:    ______________________________
                                    Name: Julie Maday
                                    Title: Chief Executive Officer



INDEPENDENT PET PARTNERS EMPLOYER, LLC:

                                    MEMBERS:

                                    INDEPENDENT PET PARTNERS
                                    INTERMEDIATE HOLDINGS II, LLC


                                    By:    ______________________________
                                    Name: Julie Maday
                                    Title: Chief Executive Officer


                                    INDEPENDENT PET PARTNERS
                                    EMPLOYER HOLDINGS, LLC


                                    By:    ______________________________
                                    Name: Julie Maday
                                    Title: Chief Executive Officer

                  Signature Page to Authorizing Written Consent
                                  Case 23-10153-LSS                       Doc 1   Filed 02/05/23              Page 17 of 28

Debtor name Independent Pet Partners Holdings, LLC , et al.

UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
Case No. (If known)
                                                                                                                                                   Check if this is an
Official Form 204                                                                                                                                  amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                   12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider , as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
largest unsecured claims.

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                          Name, telephone number, and                                 claim is
mailing address, including zip            email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction for Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


1   ADMC                                  ADMC                                    Trade Debts                                                                   $4,088,689.73
    7900 97th St S                        Tel: 651-451-1349
    Cottage Grove, MN 55016               Email:
                                          Accounts.Receivable@admcmn.com




2   Pet Food Experts                      Pet Food Experts                        Trade Debts                                                                   $3,095,051.93
    P.O. Box 8                            Tel: 800-637-7338 ext 3012
    Pawtucket, RI 02862                   Email: receivables@petfoodexperts.com




3   Supreme Pet Supplies                  Supreme Pet Supplies                    Trade Debts                                                                     $674,714.41
    P.O. Box 22629                        Tel: 713-688-4530
    Houston, TX 77227                     Email: dmarx@supremepet.com




4   Tuffy's Pet Foods, Inc                Tuffy's Pet Foods, Inc                  Trade Debts                                                                     $361,580.83
    145 1st Ave N                         Tel: 218-346-7500
    Perham, MN 56573                      Email: bschepper@klnfamilybrands.com




5   Tall Tails                            Tall Tails                              Trade Debts                                                                     $298,605.63
    172 S Broadway                        Tel: 937-222-2132 ext 2
    White Plains, NY 10605                Email: talltails@3tbrands.com




6   General Pet Supply                    General Pet Supply                      Trade Debts                                                                     $275,157.06
    7711 N 81st St                        Tel: 800-233-4738
    P.O. Box 245031                       Email: arcontact@generalpet.com
    Milwaukee, WI 53224-9531




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                Page 1
                                    Case 23-10153-LSS                   Doc 1      Filed 02/05/23              Page 18 of 28


Debtor name Independent Pet Partners Holdings, LLC                                                        Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                claim is
mailing address, including zip              email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                   loans,                               deduction for value of collateral or setoff to
                                                                                   professional                         calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if   Deduction for Unsecured claim
                                                                                   contracts)
                                                                                                                       partially         value of
                                                                                                                       secured           collateral or
                                                                                                                                         setoff


7   Hill's Pet Nutrition                    Hill's Pet Nutrition                   Trade Debts                                                                     $250,331.72
    P.O. Box 842257                         Tel: 800-255-2403 ext 2139
    Dallas, TX 75284                        Email: Cash_Application@Hillspet.com




8   Newco                                   Newco                                  Trade Debts                                                                     $230,241.31
    10700 7th St                            Tel: 909-291-2240
    Rancho Cucamonga, CA 91729              Email: ar@newcodistributors.com




9   Deloitte & Touche                       Deloitte & Touche                      Professional                                                                    $228,900.00
    P.O. Box 844708                         Email: deloittepayments@deloitte.com   Services
    Dallas, TX 75284




10 Pet Palette                              Pet Palette                            Trade Debts                                                                     $216,952.51
   1332 Londontown Blvd, Ste 230            Tel: 410-795-4444
   Sykesville, MD 21784                     Email: Accounting@petpalette.com




11 ServiceChannel.com Inc                   ServiceChannel.com Inc                 Trade Debts                                                                     $151,018.89
   P.O. Box 7410571                         Tel: 718-484-1046
   Chicago, IL 60674                        Email: ar@servicechannel.com




12 Middlewest Distributors                  Middlewest Distributors                Trade Debts                                                                     $136,827.62
   1195 Atlantic Dr                         Tel: 630-876-8990
   West Chicago, IL 60185                   Email: cindi@middlewestpet.com




13 Zeigler's Distribution, Inc              Zeigler's Distribution, Inc            Trade Debts                                                                     $131,322.87
   27 Lebanon Valley Pkwy                   Tel: 800-282-9200
   Lebanon, PA 17042                        Email: accounting@zeiglersdist.com




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 2
                                     Case 23-10153-LSS                  Doc 1     Filed 02/05/23              Page 19 of 28


Debtor name Independent Pet Partners Holdings, LLC                                                       Case No. (If known)

                                                                      (Continuation Sheet)

Name of creditor and complete                                                     Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                                claim is
mailing address, including zip             email address of creditor contact      claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                  loans,                               deduction for value of collateral or setoff to
                                                                                  professional                         calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim, if   Deduction for Unsecured claim
                                                                                  contracts)
                                                                                                                      partially         value of
                                                                                                                      secured           collateral or
                                                                                                                                        setoff


14 Central Pet (East)                      Central Pet (East)                     Trade Debts                                                                     $120,268.06
   401 Cabot Dr, Ste A                     Tel: 212-210-4112
   Hamilton, MA 01775                      Email: cashapp@central.com




15 Chasing Our Tails                       Chasing Our Tails                      Trade Debts                                                                     $120,045.37
   P.O. Box 368                            Email: Steve@chasingourtails.com
   Walnut Grove, MN 56180




16 Phillips Pet Food & Supplies - Phido    Phillips Pet Food & Supplies - Phido   Trade Debts                                                                     $102,948.83
   3747 Hecktown Rd                        Email: payments@phillipspet.com
   Easton, PA 18045




17 University of Denver                    University of Denver                   Trade Debts                                                                      $91,663.00
   2199 S University Blvd
   Denver, CO 80210




18 Westerns                                Westerns                               Trade Debts                                                                      $85,841.00
   106 S Broadway                          Tel: 507-327-7843
   P.O. Box 38                             Email: jadestaus@gmail.com
   La Salle, MN 56056



19 Central Pet (West)                      Central Pet (West)                     Trade Debts                                                                      $82,274.45
   401 Cabot Dr, Ste A                     Tel: 212-210-4112
   Hamilton, MA 01775                      Email: cashapp@central.com




20 Uber Technologies Inc                   Uber Technologies Inc                  Trade Debts                                                                      $82,047.47
   1455 Market St, 4th Fl                  Email: remittance@uber.com
   San Francisco, CA 94103




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                               Page 3
                                    Case 23-10153-LSS                     Doc 1      Filed 02/05/23              Page 20 of 28


Debtor name Independent Pet Partners Holdings, LLC                                                          Case No. (If known)

                                                                     (Continuation Sheet)

Name of creditor and complete                                                        Nature of the       Indicate if      Amount of unsecured claim
                                            Name, telephone number, and                                  claim is
mailing address, including zip              email address of creditor contact        claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                                (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction for Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


21 Aramark (28050)                          Aramark (28050)                          Trade Debts                                                                      $74,290.13
   Aus North Lockbox                        Email:
   P.O. Box 28050                           AUS_RemitInfo@uniform.aramark.com
   New York, NY 10087-8050



22 American Express Credit Card             American Express Credit Card             Trade Debts                                                                      $73,969.66
   P.O. Box 0001                            Email: cpc.rec.group@aexp.com
   Los Angeles, CA 90096-8000




23 Buxton                                   Buxton                                   Trade Debts                                                                      $69,390.26
   2651 S Polaris Dr                        Email: accountsreceivable@buxtonco.com
   Ft Worth, TX 76137




24 Innovative Office Solutions              Innovative Office Solutions              Trade Debts                                                                      $62,632.90
   Lockbox, Apt 131434                      Email: ar@innovativeos.com
   P.O. Box 1414
   Minneapolis, MN 55480



25 KWI                                      KWI                                      Trade Debts                                                                      $61,252.00
   2200 Northern Blvd, Ste 102              Email:
   Greenvale, NY 11548                      ACCOUNTSRECEIVABLE@KWI.COM




26 Wild Meadow Farms LLC                    Wild Meadow Farms LLC                    Trade Debts                                                                      $47,465.61
   1080 Enterprise Ct, Ste C                Email: Dawn@Wildmeadowfarms.com
   Nokomis, FL 34275




27 RC Pet Products                          RC Pet Products                          Trade Debts                                                                      $44,701.22
   550 E Kent Ave S                         Email: eft@rcpets.com
   Vancouver, BC V5X 4V6
   Canada




 Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                 Page 4
                                   Case 23-10153-LSS                  Doc 1    Filed 02/05/23              Page 21 of 28


Debtor name Independent Pet Partners Holdings, LLC                                                    Case No. (If known)

                                                                   (Continuation Sheet)

Name of creditor and complete                                                  Nature of the       Indicate if      Amount of unsecured claim
                                           Name, telephone number, and                             claim is
mailing address, including zip             email address of creditor contact   claim               contingent,      If the claim is fully unsecured, fill in only
code.                                                                          (for example,       unliquidated,    unsecured claim amount. If claim is partially
                                                                               trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                               loans,                               deduction for value of collateral or setoff to
                                                                               professional                         calculate unsecured claim.
                                                                               services, and
                                                                               government
                                                                                                                   Total Claim, if   Deduction for Unsecured claim
                                                                               contracts)
                                                                                                                   partially         value of
                                                                                                                   secured           collateral or
                                                                                                                                     setoff


28 Xcel Energy                             Xcel Energy                         Trade Debts                                                                      $43,867.20
   P.O. Box 9477                           Tel: 800-481-4700
   Minneapolis, MN 55484




29 Preppy Puppy                            Preppy Puppy                        Trade Debts                                                                      $40,611.03
   2380 Cranberry Hwy, Unit 3              Email: bwoodis@Preppypuppy.net
   W Wareham, MA 02576




30 Front Row Digital                       Front Row Digital                   Trade Debts                                                                      $39,933.56
   7840 Computer Ave                       Email: DigitalAR@teamfrontrow.com
   Minneapolis, MN 55435




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                            Page 5
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

             In re:                                                 )
                                                                    ) Chapter 11
             INDEPENDENT PET PARTNERS                               )
             HOLDINGS, LLC, et al., 1                               ) Case No. 23-______ (___)
                                                                    )
                               Debtors.                             ) (Joint Administration Requested)
                                                                    )

                                        CONSOLIDATED CORPORATE OWNERSHIP
                                   STATEMENT AND LIST OF EQUITY SECURITY HOLDERS

                      Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the above-

         captioned debtors and debtors in possession (each, a “Debtor”) hereby state as follows:

                              1.      A list of the equity interest holders of Debtor Independent Pet Partners

         Holdings, LLC, along with the nature of their equity interests, is attached hereto as Exhibit A.

                              2.      Debtor Independent Pet Partners Intermediate Holdings I, LLC, whose

         address is 8450 City Centre Dr., Woodbury, MN 55125, is 100% owned by Debtor Independent

         Pet Partners Holdings, LLC, whose address is also 8450 City Centre Dr., Woodbury, MN 55125.

                              3.      Debtor Independent Pet Partners Intermediate Holdings II, LLC, whose

         address is 8450 City Centre Dr., Woodbury, MN 55125, is 100% owned by Debtor Independent

         Pet Partners Intermediate Holdings I, LLC.

                              4.      Debtors Independent Pet Partners Employer Holdings, LLC and

         Independent Pet Partners Intermediate Holdings, LLC, whose address is 8450 City Centre Dr.,




         1
               The Debtors in these chapter 11 cases, along with each Debtor’s federal tax identification number, are:
               Independent Pet Partners Holdings, LLC (5913), Independent Pet Partners Intermediate Holdings I, LLC (4827),
               Independent Pet Partners Intermediate Holdings II, LLC (7550), Independent Pet Partners Employer Holdings,
               LLC (6785), Independent Pet Partners Employer, LLC (7531), Independent Pet Partners Intermediate Holdings,
               LLC (8793), IPP - Stores, LLC (6147), IPP Stores Employer, LLC (0847), Especially For Pets, LLC (6801), Pet
               Life, LLC (3420), Whole Pet Central, LLC (7833), Natural Pawz, LLC (5615), and Pet Source, LLC (1905). The
               corporate headquarters and the mailing address for the Debtors is 8450 City Centre Dr., Woodbury, MN 55125.
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                        Case 23-10153-LSS         Doc 1    Filed 02/05/23   Page 23 of 28




         Woodbury, MN 55125, are each 100% owned by Debtor Independent Pet Partners Intermediate

         Holdings II, LLC.

                        5.      Debtor Independent Pet Partners Employer, LLC, whose address is 8450

         City Centre Dr., Woodbury, MN 55125, is 99% owned by Debtor Independent Pet Partners

         Intermediate Holdings II, LLC and 1% owned by Debtor Independent Pet Partners Employer

         Holdings, LLC.

                        6.      The following Debtors, each of whose address is 8450 City Centre Dr.,

         Woodbury, MN 55125, are 100% owned by Debtor Independent Pet Partners Intermediate

         Holdings, LLC:

                             a. IPP – Stores, LLC

                             b. Pet Life, LLC

                             c. Especially for Pets, LLC

                             d. Whole Pet Central, LLC

                             e. Natural Pawz, LLC

                             f. Pet Source, LLC

                        7.      Debtor IPP Stores Employer, LLC, whose address is 8450 City Centre Dr.,

         Woodbury, MN 55125, is 100% owned by Debtor IPP Stores, LLC.




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         {10959744: }                                      2
                           Case 23-10153-LSS               Doc 1      Filed 02/05/23          Page 24 of 28




                                                              EXHIBIT A

                        List of Independent Pet Partners Holdings, LLC’s Equity Interest Holders 1

                          Equity Holder                                      Number and Nature of Interests 2

       TGP Independent Pet Partners, L.P.                         Class B Preferred Units – 20,000,000
       301 Commerce Street, Suite 3300
       Fort Worth, TX 76102                                       Class A Preferred Units – 130,390,616

       Cold Nose Acquisition Partners LLC                         Class B Preferred Units – 1,008,403
       8450 City Centre Drive
       Woodbury, MN 55125                                         Class A Preferred Units – 7,134,926

       Michael Foss                                               Class A Preferred Units – 1,228,666

                                                                  Class P Profits Units – 750,000

       Michael DiTullio                                           Class A Preferred Units – 1,228,666

                                                                  Class P Profits Units – 250,000

       Rivan Pty Limited (as trustee for the David                Class A Preferred Units – 1,007,687.82
       Gordon Superannuation Fund)
       Baskin Clark Level 14, Tower 12
       101 Grafton St
       Bondi Junction, Sydney, AS NSW 2022,
       Australia




         1
              This list serves as the disclosure required to be made by the Debtors pursuant to Rule 1007 of the Federal Rules
              of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the Debtors’ chapter
              11 cases.

         2
              In addition to the classes of interests listed herein, the company maintains a program through which certain
              employees and other service providers are awarded, subject to various vesting terms, profit-based equity interests
              (“Profits Units”) in Debtor Independent Pet Partners Holdings, LLC in exchange for services provided (or
              anticipated to be provided) to or for the benefit of the Debtors. The inclusion of a holder of Profits Units on this
              list indicates that the holder holds 10% or more of the Profits Units in one or more classes of Profits Units.
              However, the holder may not hold 10% or more of the Profits Units in each class listed.

              Notwithstanding the inclusion of a holder of Profits Units on this list, the Profits Units specified herein may not
              have yet vested in the unitholder. The inclusion of any Profits Units in this list shall not be considered a statement
              by the Debtors that the Profits Units have vested in the individual holder of the Profits Units, and the terms of any
              agreement governing vesting of the Profits Units shall continue to govern whether the Profits Units have vested.

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         {10959744: }                                                3
                        Case 23-10153-LSS    Doc 1   Filed 02/05/23   Page 25 of 28




                        Equity Holder                    Number and Nature of Interests 2

       Melissa and Richard Karam                 Class A Preferred Units – 491,466

       Main Street Equity Interests, Inc.        Class C Preferred Units – 4,102,735.55
       1300 Post Oak Blvd., Suite 800
       Houston, TX 77056                         Class B-2 Preferred Units - 4,102,735.55

                                                 Class A Preferred Units – 1,558,333.33




       MSC Equity Holdings, LLC (f/k/a HMS       Class C Preferred Units – 3,137,385.99
       Equity Holdings, LLC)
       2800 Post Oak Blvd., Suite 800            Class B-2 Preferred Units – 3,137,386
       Houston, TX 77056
                                                 Class A Preferred Units – 1,191,666.67

                                                 Warrants – 185,757



       34th Street Funding, LLC                  Class C Preferred Units – 2,356,443.70
       3 Park Avenue, 36th Floor
       New York, NY 10016                        Class B-2 Preferred Units – 2,356,443.70


       Main Street Capital Corporation           Warrants – 242,913.73
       1300 Post Oak Blvd., Suite 800
       Houston, TX 77056

       NCP III Aggregator, L.P.                  Class C Preferred Units – 7,953,854.75
       3693 Maple Avenue, Suite 100
       Dallas, TX 75219                          Class B-2 Preferred Units – 7,953,854.76

                                                 Class B Preferred Units – 460,155.81

                                                 Class A Preferred Units – 3,000,000

                                                 Warrants – 481,979




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         {10959744: }                                4
                        Case 23-10153-LSS      Doc 1   Filed 02/05/23    Page 26 of 28




                        Equity Holder                       Number and Nature of Interests 2

       CION Investment Corporation                  Class C Preferred Units – 276,327.77
       3 Park Avenue, 36th Floor
       New York, NY 10016                           Class B-2 Preferred Units – 276,327.78

                                                    Class A Preferred Units – 1,000,000

                                                    Warrants – 155,880.27

       Ken Grouf                                    Class A Preferred Units – 1,300,000

       Grouf GST Trust                              Class A Preferred Units – 300,000
       533 23rd Street
       Santa Monica, CA 90402

       Bradley A. Kriser Trust dated July 1, 1989   Class A Preferred Units – 1,138,335

       Matthew N. Kriser                            Class A Preferred Units – 271,032

       Daniel C. Kriser Trust DTD 11/8/2006         Class A Preferred Units – 271,032

       Jeffrey David                                Class P-A Profits Units – 2,803,272

                                                    Class P-B Profits Units – 230,000

                                                    Class P-C Profits Units – 103,000

       Tricia Nichols                               Class P Profits Units – 250,000

                                                    Class P-A Profits Units – 1,325,000

                                                    Class P-B Profits Units – 185,000

                                                    Class P-C Profits Units – 850,000


       Brian Murphy                                 Class P Profits Units – 1,000,000

                                                    Class P-A Profits Units – 1,725,000

                                                    Class P-B Profits Units – 415,000

                                                    Class P-C Profits Units – 190,000



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         {10959744: }                                  5
                        Case 23-10153-LSS   Doc 1   Filed 02/05/23   Page 27 of 28




                        Equity Holder                   Number and Nature of Interests 2

       Julie Maday                              Class P Profits Units – 950,000

                                                Class P-A Profits Units – 1,300,000

                                                Class P-B Profits Units – 372,000

                                                Class P-C Profits Units – 169,000




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         {10959744: }                               6
                                 Case 23-10153-LSS                Doc 1           Filed 02/05/23              Page 28 of 28

 Fill in this information to identify the case and this filing:


                    Independent Pet Partners Holdings, LLC
 Debtor Name __________________________________________________________________
                                                                             Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____
         x Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         
         x
                                                      Corporate Ownership Statement_____________________________________
                                                                                          and List of Equity Security Holde________
                                                                                                                           rs
           Other document that requires a declaration____________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     02/05/2023
        Executed on ______________                                     /s/ Stephen Coulombe
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                                        Stephen Coulombe
                                                                ________________________________________________________________________
                                                                Printed name

                                                                      Co-Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
